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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

In re:                                                      Chapter 7

DURA AUTOMOTIVE SYSTEMS, LLC,                               Case No. 19-12378 (KBO)
et al. 1,
                                                            (Jointly Administered)
                   Debtors.
                                                            RE: Docket Item 1409


                           ORDER AUTHORIZING CHAPTER 7 TRUSTEE
                          TO EMPLOY BEDERSON LLP AS ACCOUNTANT

           Upon consideration of the Application of Jeoffrey L. Burtch, Chapter 7 Trustee (the

“Trustee”) for the bankruptcy estates (the “Estates”) of the above-captioned debtors (the

“Debtors”), to employ Bederson LLP (“Bederson”) as Accountant (the “Application”) 2 to the

Trustee, and the Declaration of Charles N. Persing, as well as the Supplemental Declaration of

Charles N. Persing filed in support of the Application; the Court being satisfied that Bederson is

disinterested as that term is defined in Section 101(14) of the Bankruptcy Code and does not hold

or represent any entity having an adverse interest in connection with the Debtors’ cases; it

appearing that the retention of Bederson as the Trustee’s accountant in these Bankruptcy Cases is

necessary and in the best interests of the Estates; appropriate notice of the Application having been

given; and, it appearing that there is sufficient cause to grant the relief requested;

           IT IS HEREBY ORDERED:

           1.       The Application is GRANTED.




1
    The debtor entities in these chapter 11 cases, along with the last four digits of each Debtor entity’s federal tax
    identification number, are: Dura Automotive Systems Cable Operations, LLC (7052); Dura Automotive Systems,
    LLC (8111); Dura Fremont L.L.C. (1252); Dura G.P. (8092); Dura Mexico Holdings, LLC (4188); Dura Operating,
    LLC (2304); and NAMP, LLC (3693). Dura Automotive Systems, LLC’s service address is: 1780 Pond Run,
    Auburn Hills, Michigan 48326.
2
    Capitalized terms shall have the same meaning ascribed to them in the Application.
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       2.      Pursuant to Sections 327(a) and 328 of the Bankruptcy Code and Bankruptcy Rule

2014, the Trustee is authorized to employ Bederson as his accountants effective as of May 1, 2022

to render the Services on the terms and conditions set forth in the Application.

       3.      Bederson shall file applications and be compensated in accordance with sections

330 and 331 of the Bankruptcy Code, the Bankruptcy Rules, the Local Rules of this Court,

including Local Rule 2016-2, and such other procedures as may be fixed by order of this Court.

       4.      This Court retains jurisdiction with respect to all matters arising from or related to

the implementation of this Order.




   Dated: June 17th, 2022                             KAREN B. OWENS
   Wilmington, Delaware                               UNITED STATES BANKRUPTCY JUDGE



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